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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
STACY MERCER, on behalf of                                 :
herself and all others similarly situated,
                                                           :
                                      Plaintiff,
                                                           :
                             -against-                                    ORDER
                                                           :        20-CV-6044 (LTS) (KNF)
GREEN MOUNTAIN LODGING,INC.
d/b/a Adirondack Spruce Lodge,
a New York Corporation,
                                                           :
                                      Defendant.
--------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The Clerk of Court, on September 16, 2020, entered on the docket sheet maintained for

this action a certificate noting the defendant’s default. Since that time, the docket sheet does not

reflect that the plaintiff has filed any motion to resolve the action. The plaintiff is directed to

review Rule 55 of the Federal Rules of Civil Procedure and proceed accordingly. The plaintiff is

advised that failing to comply with a court order may result in sanctions, including the dismissal

of the complaint.

Dated: New York, New York
       October 16, 2020                                        SO ORDERED:
